16-01353-scc          Doc 51      Filed 06/03/19      Entered 06/03/19 22:29:48                  Main Document
                                                     Pg 1 of 19


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PMAC LENDING SERVICES, INC.
and RELIANT MORTGAGE COMPANY, LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re

    LEHMAN BROTHERS HOLDINGS, INC.,                         Chapter 11
    et al.,
                  Debtors.                                  Case No. 08-13555 (SCC)


    LEHMAN BROTHERS HOLDINGS, INC.,                         Adv. Proc. No. 16-01353-SCC1

                              Plaintiff,
            -against-

    PMAC LENDING SERVICES, INC.,
    individually and as successor by merger to
    PMC Bancorp, f/k/a Professional Mortgage
    Corp., and as successor by merger to Reliant
    Mortgage Company, LLC, and PMC
    BANCORP, f/k/a Professional Mortgage
    Corp., individually, and RELIANT
    MORTGAGE COMPANY, LLC,
    individually,

                              Defendants.


       DEFENDANTS PMAC LENDING SERVICES, INC. & RELIANT MORTGAGE
       COMPANY, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES IN
      RESPONSE TO PLAINTIFF’S SECOND AMENDED ADVERSARY COMPLAINT



1
    Defendants deny any allegations contained in the headings and caption of LBHI’s complaint.
16-01353-scc     Doc 51    Filed 06/03/19    Entered 06/03/19 22:29:48          Main Document
                                            Pg 2 of 19


       Defendants PMAC Lending Services, Inc. (“PMAC”) and Reliant Mortgage Company,

LLC (“Reliant” and together “Defendants”) hereby amends their Answer and Affirmative

Defenses to the unverified Second Amended Adversary Complaint (the “Adversary Complaint”)

of Plaintiff Lehman Brothers Holdings Inc. (“LBHI” or “Plaintiff”).

                                        NATURE OF ACTION

       1.      Paragraph 1 of the Adversary Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations in

Paragraph 1.

       2.      Defendants deny the allegations contained in paragraph 2 of the Adversary

Complaint. With regard to any representations and warranties made by LBHI to third party

investors, Defendants deny having knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 2 of the Adversary Complaint.

       3.      Paragraph 3 of the Adversary Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations in

paragraph 3.

       4.      Paragraph 4 of the Adversary Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations in

paragraph 4.

                                           PARTIES

       5.      Paragraph 5 does not contain any material allegations concerning Defendants and,

on that basis, Defendants aver that no response is required. To the extent a response is required,

Defendants admit that LBHI commenced a voluntary case under Chapter 11 of the Bankruptcy

Code in 2008, but is otherwise without knowledge or information sufficient to form a belief as to
16-01353-scc       Doc 51     Filed 06/03/19    Entered 06/03/19 22:29:48        Main Document
                                               Pg 3 of 19


the truth or falsity of the remaining allegations contained in paragraph 5, and on that basis, denies

them.

        6.      Defendants admit the allegations contained in paragraph 6 of the Adversary

Complaint.

        7.      Paragraph 7 of the Adversary Complaint asserts legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the allegations in

paragraph 7.

                                    JURISDICTION AND VENUE

        8.      Paragraph 8 does not contain any material allegations concerning Defendants and,

on that basis, Defendants aver that no response is required. To the extent a response is required,

Defendants admit that this is an adversary proceeding under the Federal Rules of Bankruptcy

Procedure 7001 and 7003.

        9.      The jurisdictional allegations contained in paragraph 9 state legal conclusions to

which no answer is required. To the extent an answer is required, Defendants deny that this Court

has subject matter jurisdiction over this matter.

        10.     The jurisdictional allegations contained in paragraph 10 state legal conclusions to

which no answer is required. To the extent an answer is required, Defendants deny that venue is

proper in this judicial district.

        11.     The jurisdictional allegations contained in paragraph 11 state legal conclusions to

which no answer is required. To the extent an answer is required, Defendants admit that this Court

has personal jurisdiction and that Defendant is organized and does business in the United States.

Defendants deny having information or knowledge sufficient to form a belief as to the truth of the

allegations concerning “[a]t all relevant times”.
16-01353-scc      Doc 51     Filed 06/03/19    Entered 06/03/19 22:29:48          Main Document
                                              Pg 4 of 19


                                  FACTUAL BACKGROUND

          12.   Defendants deny having information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 12. Defendants deny having information or

knowledge sufficient to form a belief as to the truth of the allegations concerning “[a]t all relevant

times”.

          13.   Defendants admit that they are or were engaged in the business of mortgage

origination and the sale of mortgage loans on the secondary market. Defendants deny having

information or knowledge sufficient to form a belief as to the truth of the allegations concerning

“[a]t all relevant times”.

    A. The Governing Agreements

          14.   Defendants admit that a Loan Purchase Agreement (“LPA”) was entered into

between Defendant and LBHI’s assignor, Lehman Brothers Bank (“LBB”). Defendants otherwise

deny the allegations contained in paragraph 14.

          15.   Defendants admit that Exhibit A to the Adversary Complaint purports to identify

LPAs and the dates of those agreements. To the extent the allegations of paragraph 15 seek to

paraphrase or characterize the contents of a written document, the document speaks for itself and

Defendants deny the allegations to the extent they are inconsistent with the document.

          16.   To the extent the allegations of paragraph 16 seeks to paraphrase or characterize

the contents of written documents, the documents speak for themselves and Defendants deny the

allegations to the extent they are inconsistent with the documents.

          17.   To the extent the allegations of paragraph 17 seek to paraphrase or characterize the

contents of written documents, the documents speak for themselves and Defendants deny the

allegations to the extent they are inconsistent with the documents.
16-01353-scc     Doc 51    Filed 06/03/19    Entered 06/03/19 22:29:48        Main Document
                                            Pg 5 of 19


       18.     Paragraph 18 asserts a legal conclusion to which no response is required. To the

extent the allegations of paragraph 18 seek to paraphrase or characterize the contents of written

documents, the documents speak for themselves and Defendants deny the allegations to the extent

they are inconsistent with the document.

       19.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 19 of the Adversary Complaint, and, on that

basis, deny them.

       20.     Paragraph 20 asserts a legal conclusion to which no response is required. To the

extent the allegations of paragraph 20 seek to paraphrase or characterize the contents of written

documents, the documents speak for themselves and Defendants deny the allegations to the extent

they are inconsistent with the document.

       21.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 21 of the Adversary Complaint, and, on that

basis, denies them.

       22.     Paragraph 22 asserts a legal conclusion to which no response is required. To the

extent the allegations of paragraph 22 seek to paraphrase or characterize the contents of written

documents, the documents speak for themselves and Defendants deny the allegations to the extent

they are inconsistent with the document.

   B. Defendants’ Representations Under the LPAs

       23.     Paragraph 23 asserts a legal conclusion to which no response is required. To the

extent the allegations of paragraph 23 seek to paraphrase or characterize the contents of written

documents, the documents speak for themselves and Defendants deny the allegations to the extent
16-01353-scc     Doc 51     Filed 06/03/19    Entered 06/03/19 22:29:48        Main Document
                                             Pg 6 of 19


they are inconsistent with the document. Paragraph 23 otherwise asserts a legal conclusion to

which no response is required.

       24.     To the extent the allegations of paragraph 24 seek to paraphrase or characterize the

contents of written documents, the documents speak for themselves and Defendants deny the

allegations to the extent they are inconsistent with the document.

       25.     The allegations contained in paragraph 25 seek to paraphrase or characterize the

contents of written documents, the documents speak for themselves and Defendants deny the

allegations to the extent they are inconsistent with the document.

       26.     The allegations contained in paragraph 26 seek to paraphrase or characterize the

contents of written documents, the documents speak for themselves and Defendants deny the

allegations to the extent they are inconsistent with the document.

       27.     To the extent the allegations of paragraph 27 seek to paraphrase or characterize the

contents of written documents, the documents speak for themselves and Defendants deny the

allegations to the extent they are inconsistent with the document.

       28.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 28 of the Adversary Complaint, and, on that

basis, deny them. To the extent the allegations of paragraph 28 seek to paraphrase or characterize

the contents of written documents, the documents speak for themselves and Defendants deny the

allegations to the extent they are inconsistent with the documents.

   C. Defendants’ Indemnification Obligations Under the LPAs

       29.     To the extent the allegations of paragraph 29 seek to paraphrase or characterize the

contents of a written document, the document speaks for itself and Defendants deny the allegations
16-01353-scc     Doc 51     Filed 06/03/19    Entered 06/03/19 22:29:48      Main Document
                                             Pg 7 of 19


to the extent they are inconsistent with the document. The allegations of paragraph 29 otherwise

assert a legal conclusion to which no response is required.

   D. LBHI’s Settlements with Fannie Mae and Freddie Mac

       30.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 30 of the Adversary Complaint, and, on that

basis, deny them.

       31.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 31 of the Adversary Complaint, and, on that

basis, deny them.

       32.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 32 of the Adversary Complaint, and, on that

basis, deny them.

       33.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 33 of the Adversary Complaint, and, on that

basis, deny them.

       34.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 34 of the Adversary Complaint, and, on that

basis, deny them.

       35.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 35 of the Adversary Complaint, and, on that

basis, deny them.
16-01353-scc     Doc 51      Filed 06/03/19    Entered 06/03/19 22:29:48          Main Document
                                              Pg 8 of 19


       36.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 36 of the Adversary Complaint, and, on that

basis, deny them.

       37.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 37 of the Adversary Complaint, and, on that

basis, deny them.

       38.     Defendants admit that Exhibit B identifies purported defects as to identified loans.

Defendants admit that Exhibit C identifies a general description of defects identified in Exhibit B.

Defendants deny having knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in paragraph 38 of the Adversary Complaint, and, on that basis,

deny them.

       39.     Paragraph 39 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations of paragraph 39.

   E. Defendants’ Obligations to Indemnify LBHI

       40.     To the extent the allegations of paragraph 40 seek to paraphrase or characterize the

contents of a written document, the document speaks for itself and Defendants deny the allegations

to the extent they are inconsistent with the document. The allegations of paragraph 40 otherwise

assert a legal conclusion to which no response is required.

       41.     Defendants admit that LBHI demanded it indemnify LBHI and denies the

remaining allegations to the extent they call for a legal conclusion to which no response is required.

       42.     Paragraph 42 contains legal conclusions to which no response is required.

       43.     Paragraph 43 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations.
16-01353-scc     Doc 51     Filed 06/03/19    Entered 06/03/19 22:29:48        Main Document
                                             Pg 9 of 19


       44.     Defendants deny having knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 44 of the Adversary Complaint, and, on that

basis, deny them.

   F. PMAC Lending’s Liability for PMC Bancorp’s Obligations and Liabilities

       45.     To the extent the allegations of paragraph 45 seek to paraphrase or characterize the

contents of a written document, the document speaks for itself and Defendants deny the allegations

to the extent they are inconsistent with the document.

       46.     Defendants deny the allegations contained in paragraph 46.

       47.     Defendants deny the allegations contained in paragraph 47.

       48.     Defendants deny the allegations contained in paragraph 48.

       49.     Defendants deny the allegations contained in paragraph 49.

 (i)   PMC Bancorp Seeks to Escape Massive Contractual Exposure

       50.     Defendants admit the allegations contained in paragraph 50.

       51.     Defendants deny the allegations contained in paragraph 51.

       52.     Defendants deny having information or knowledge sufficient to form a belief as to

the truth of the allegations concerning “among others.”        Defendants otherwise admit      the

allegations contained in paragraph 52.

       53.     Defendants admit the allegations contained in paragraph 53.

       54.     Defendants admit the allegations contained in paragraph 54.

       55.     Defendants deny the allegations of paragraph 55.

       56.     Defendants admit the allegations of paragraph 56.

       57.     Defendants admit the allegations of paragraph 57.

       58.     Defendants deny the allegations of paragraph 58.
16-01353-scc     Doc 51      Filed 06/03/19 Entered 06/03/19 22:29:48          Main Document
                                           Pg 10 of 19


        59.    Defendants deny the allegations of paragraph 59.

        60.    Defendants deny the allegations of paragraph 60.

        61.    Defendants deny the allegations of paragraph 61.

        62.    Defendants deny the allegations of paragraph 62.

        63.    Defendants admit the allegations of paragraph 63.

 (ii)   PMC Bancorp-PMAC Lending Agreements Rendering PMAC Lending a Mere
        Continuation of PMC Bancorp and/or Giving Rise to a De Facto Merger Between the
        Two Entities

        64.    Defendants admit that William Park was the CEO of PMAC Lending.

        65.    Defendants admit that William Park and Ryan Kim were appointed to PMAC’s

board of directors. Defendants deny the remainder of the allegations.

        66.    To the extent the allegations of paragraph 66 seek to paraphrase or characterize the

contents of a written document, the document speaks for itself and Defendants deny the allegations

to the extent they are inconsistent with the document.

        67.    To the extent the allegations of paragraph 67 seek to paraphrase or characterize the

contents of a written document, the document speaks for itself and Defendants deny the allegations

to the extent they are inconsistent with the document. Defendants otherwise deny the allegations

contained in paragraph 67.

        68.    Defendants deny the allegations of paragraph 68.

        69.    Defendants deny the allegations of paragraph 69.

        70.    Defendants deny the allegations of paragraph 70.

        71.    Defendants admit that PMC Bancorp transferred servicing rights to PMAC but

deny the remainder of the allegations of paragraph 71.

        72.    Defendants deny the allegations of paragraph 72.
16-01353-scc     Doc 51     Filed 06/03/19 Entered 06/03/19 22:29:48           Main Document
                                          Pg 11 of 19


        73.    Defendants deny the allegations of paragraph 73.

        74.    Defendants deny the allegations of paragraph 74.

(iii)   The Re-making of PMAC Lending in PMC Bancorp’s Image

        75.    Defendants admit that certain PMC employees became employed by PMAC, but

deny the remainder of the allegations of paragraph 75.

        76.    Defendants deny the allegations of paragraph 76.

        77.    Defendants admit the allegations of paragraph 77.

        78.    Defendants deny the allegations of paragraph 78.

        79.    Defendants deny the allegations of paragraph 79.

(iv)    The Center Bank Loan

        80.    Defendants admit the allegations of paragraph 80.

        81.    Defendants deny the allegations of paragraph 81.

        82.    Defendants admit the allegations of paragraph 82.

        83.    Defendants admit the allegations of paragraph 83.

        84.    To the extent the allegations of paragraph 84 seek to paraphrase or characterize the

contents of a written document, the document speaks for itself and Defendants deny the allegations

to the extent they are inconsistent with the document.

 (v)    Unity of Ownership and Interests between PMC Bancorp and PMAC Lending Has
        Continued into the Present

        85.    Defendants deny the allegations of paragraph 85.

        86.    Defendants deny the allegations of paragraph 86.

(vi)    Status of PMC Bancorp and PMAC Lending

        87.    Defendants admit that PMC Bancorp is no longer solvent, but deny the remainder

of the allegations of paragraph 87.
16-01353-scc      Doc 51    Filed 06/03/19 Entered 06/03/19 22:29:48           Main Document
                                          Pg 12 of 19


        88.     Defendants admit that William Park and PMAC Lending sold certain of PMAC

Lending’s assets to Finance of America.

        89.     Defendants admit the allegations of paragraph 89 but denies the date of July 2016.

    G. PMAC Lending’s Liability for Reliant’s Obligations and Liabilities

        90.     Paragraph 90 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations of paragraph 90.

        91.     Defendants deny the allegations of paragraph 91.

                                 FIRST CLAIM FOR RELIEF

                                 (Contractual Indemnification)

        92.     Defendant reincorporates their answers to LBHI’s allegations set forth above as if

fully set forth herein.

        93.     Paragraph 93 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations of paragraph 93.

        94.     Paragraph 94 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations of paragraph 94.

        95.     Paragraph 95 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations of paragraph 95.

        96.     Paragraph 96 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations of paragraph 96.

        97.     Paragraph 97 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations of paragraph 97.

        98.     Paragraph 98 contains legal conclusions to which no response is required. To the

extent a response is required, Defendants deny the allegations of paragraph 98.
16-01353-scc        Doc 51    Filed 06/03/19 Entered 06/03/19 22:29:48              Main Document
                                            Pg 13 of 19


                                      PRAYER FOR RELIEF

        LBHI’s prayer for relief does not contain any allegations to which a response is required.

To the extent a response is required, Defendants deny that LBHI is entitled to any of the relief

sough in its prayer for relief and deny that LBHI is entitled to any relief whatsoever.

    A. That LBHI’s Adversary Complaint be dismissed with prejudice and judgment be entered

        in favor of Defendant;

    B. That Defendants be awarded their reasonable costs and attorney’s fees, to the extent

        available;

    C. That Defendants be awarded such other and further relief as the Court deems equitable

        and just.

                                   DEMAND FOR JURY TRIAL

        Defendants PMAC and Reliant hereby demand a trial by jury on all claims that may be

tried by jury.

                                    AFFIRMATIVE DEFENSES

        Defendants allege each of the following affirmative defenses to each and every cause of

action asserted against it and to each of the acts and/or omissions with which Defendant is charged

in the Adversary Complaint. Defendants hereby allege the following affirmative defenses without

assuming the burden of proof for such where the burden of defense is not by law upon Defendants.

                                FIRST AFFIRMATIVE DEFENSE

                                 (Failure to State a Cause of Action)

        1.       The Adversary Complaint fails to state facts sufficient to constitute a cause of action

against Defendants.
16-01353-scc      Doc 51    Filed 06/03/19 Entered 06/03/19 22:29:48           Main Document
                                          Pg 14 of 19


                            SECOND AFFIRMATIVE DEFENSE

                                           (Estoppel)

       2.      Defendants are informed and believe, and thereon allege, that the Adversary

Complaint, and that each and every purported cause of action set forth therein, are barred by the

doctrine of estoppel.

                             THIRD AFFIRMATIVE DEFENSE

                                         (Res Judicata)

       3.      Defendants are informed and believe, and thereon allege, that the Adversary

Complaint, and that each and every purported cause of action set forth therein, are barred by the

doctrine of res judicata.

                            FOURTH AFFIRMATIVE DEFENSE

                                            (Waiver)

       4.      Defendants are informed and believe, and thereon allege, that the Adversary

 Complaint, and that each and every purported cause of action set forth therein, are barred by the

 doctrine of waiver.

                             FIFTH AFFIRMATIVE DEFENSE

                                            (Laches)

       5.      Defendants are informed and believe, and thereon allege, that the Adversary

Complaint, and that each and every purported cause of action set forth therein, are barred by the

doctrine of laches.
16-01353-scc        Doc 51     Filed 06/03/19 Entered 06/03/19 22:29:48           Main Document
                                             Pg 15 of 19


                                SIXTH AFFIRMATIVE DEFENSE

                                           (Unclean Hands)

        6.        Defendants are informed and believe, and thereon allege, that by virtue of the

unlawful, careless, negligent, fraudulent, misrepresentative and/or wrongful conduct of Plaintiff,

Plaintiff is barred from recovering against Defendants by the equitable doctrine of unclean hands.

                              SEVENTH AFFIRMATIVE DEFENSE

                                        (Speculative Damages)

        7.        To the extent that Plaintiff suffered any damages, Plaintiff’s recovery is barred or

reduced, as such damages are uncertain or speculative so as to bar any recovery.

                               EIGHTH AFFIRMATIVE DEFENSE

                                             (Uncertainty)

        8.        Plaintiff’s Adversary Complaint, and each and every purported cause of action set

forth therein, are barred because the claims purportedly asserted therein are uncertain.

                                NINTH AFFIRMATIVE DEFENSE

                                       (Mitigation of Damages)

        9.        Plaintiff’s Adversary Complaint, and each and every purported cause of action set

 forth therein, are barred or reduced by Plaintiff’s failure to take any and all reasonable and

 necessary actions to avoid or reduce damages, and any alleged damages must be reduced

 accordingly.

                                TENTH AFFIRMATIVE DEFENSE

                                         (Unjust Enrichment)

        10.       Defendants allege that Plaintiff would be unjustly enriched by recovering damages

in this matter.
16-01353-scc      Doc 51     Filed 06/03/19 Entered 06/03/19 22:29:48            Main Document
                                           Pg 16 of 19


                           ELEVENTH AFFIRMATIVE DEFENSE

                                      (Statute of Limitations)

       11.     Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred

by the applicable statute of limitations.

                            TWELFTH AFFIRMATIVE DEFENSE

                                (No Subject Matter Jurisdiction)

       12.     Plaintiff’s Adversary Complaint cannot establish subject matter jurisdiction, and

thus Plaintiff is barred from recovery.

                          THIRTEENTH AFFIRMATIVE DEFENSE

                                            (Performance)

       13.     Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred,

in whole or in part, because Defendants fully performed and satisfied their obligations under the

contracts.

                         FOURTEENTH AFFIRMATIVE DEFENSE

                                            (No Causation)

       14.     Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred,

in whole or in part, because the Adversary Complaint alleges no facts showing that any losses,

damages, claims, or liability Plaintiff may have sustained was caused by Defendants’ alleged

breaches.

                           FIFTEENTH AFFIRMATIVE DEFENSE

                                      (Third-Party Liability)

       15.     Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred,

in whole or in part, to the extent the actions that purportedly caused damage to Plaintiff were
16-01353-scc      Doc 51     Filed 06/03/19 Entered 06/03/19 22:29:48            Main Document
                                           Pg 17 of 19


performed by third parties over whom Defendants are not responsible and which Defendants have

no control.

                           SIXTEENTH AFFIRMATIVE DEFENSE

                                           (No Reliance)

       16.     Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred,

in whole or in part, because Plaintiff did not rely on the representations and warranties on which

Plaintiff is suing, and to the extent Plaintiff relied on such representations and warranties,

Plaintiff’s reliance was not reasonable or justified.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

                                       (Collateral Estoppel)

       17.     Defendants are informed and believe, and thereon allege, that the Adversary

Complaint, and that each and every purported cause of action set forth therein, are barred by the

doctrine of collateral estoppel.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

                              (Right to Raise Additional Defenses)

       Defendants allege that Plaintiff failed to describe the causes of action with sufficient

particularity so as to enable Defendants to determine all of their legal, contractual, and equitable

rights. As such, Defendants reserve the right to amend and/or supplement the averments of their

Amended Answer and Affirmative Defenses, and raise and assert all pertinent defenses ascertained

through investigation, and after discovery has begun and additional facts and information become

available.
16-01353-scc    Doc 51    Filed 06/03/19 Entered 06/03/19 22:29:48      Main Document
                                        Pg 18 of 19



Dated: June 3, 2019
       Los Angeles, California                Respectfully submitted,


                                              By:    /s/ Amjad M. Khan

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16-01353-scc    Doc 51     Filed 06/03/19 Entered 06/03/19 22:29:48          Main Document
                                         Pg 19 of 19




                               CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing to be served

electronically via the CM/ECF system this 3rd day of June 2019 upon all counsel of record.

                                                    /s/ Amjad M. Khan
                                                      Amjad M. Khan

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